Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 1 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 2 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 3 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 4 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 5 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 6 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 7 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 8 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 9 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 10 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 11 of 12
Case 1:15-cv-01593-WHP Document 1 Filed 03/04/15 Page 12 of 12
